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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS

In re:                                              :
                                                    :
                                                    :       Chapter 11
HOUSTON REGIONAL SPORTS                             :
NETWORK, L.P.                                       :
                    Debtor.                         :       Case No.: 13-35998
                                                    :
                                                    :

               COMCAST’S EMERGENCY MOTION TO FILE UNDER SEAL

          Houston SportsNet Finance, LLC, Comcast Sports Management Services, LLC,

National Digital Television Center, LLC, and Comcast SportsNet California, LLC (collectively

“Comcast”) hereby move, pursuant to 11 U.S.C. § 107(b)(1) and Federal Rule of Bankruptcy

Procedure 9018, for leave to file under seal their Emergency Motion For An Order Protecting

The Comcast-Appointed Directors Of The Debtor’s General Partner From The Teams’ And

Potential Purchaser’s Abuse Of Bankruptcy Process In View Of Directors’ Fiduciary Roles

(the “Motion”). In support hereof, Comcast respectfully states as follows:

                                            BACKGROUND

              1. On September 27, 2013, Comcast filed an Involuntary Petition under Chapter 11

of the Bankruptcy Code against Houston Regional Sports Network, L.P. (the “Alleged

Debtor” or “Network”), the corporate general partner of which is Houston Regional Sports

Network, LLC (“General Partner”). (Sept. 27, 2013 Involuntary Pet., at 1.)

              2. On February 4, 2014, the Court entered an Order for Relief and Case

Management Order [Dkt. No. 210].

              3. On the July 2, 2014, the Court held a status conference (the “Hearing”) in this

case to discuss, among other things, the status of the reorganization efforts of the Debtor. To



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protect the economic viability of the Debtor and the related marketing efforts by the Debtor,

portions of the hearing were closed to the public, and the transcript was maintained under seal.

             4. In connection with certain matters discussed at the Hearing, Comcast is filing

the Motion, which discusses and relates directly to the Hearing, and which cites and quotes the

Hearing transcript in multiple instances.

             5. Accordingly, Comcast requests that the Court authorize Comcast to file the

Motion under seal pursuant to Section 107(b) of the Bankruptcy Code, and Bankruptcy Rule

9018, as it contains commercially sensitive information, the disclosure of which would be

harmful to the business and to the reorganization efforts of the Debtor.

             6. Section 107(b) of the Bankruptcy Code authorizes the Court to issue orders to

protect entities from potential harm caused by the disclosure of confidential or sensitive

commercial information. See, e.g., In re Fawcett, 438 B.R. 564, 570–71 (Bankr. W.D. Tex.

2010) (determining that some of the information contained in two exhibits constitute

commercial confidential information and should thus be sealed).

             7. Under Bankruptcy Rule 9018, a party may move for relief under Section 107(b)

by motion. Alternatively, the court “on its own initiative . . . may make any order which

justice requires (1) to protect . . . any entity in respect of . . . confidential . . . commercial

information.” Fed. R. Bankr. P. 9018.

             8. The confidential information that Comcast seeks to file under seal is

confidential commercial information that would result in “‘an unfair advantage to competitors

by providing them information as to the commercial operations of the debtor.’” In re Fawcett,

438 B.R. at 567 (quoting In re Orion Pictures Corp., 21 F.3d 24, 27 (2d Cir. 1994)).

             9. As the information that Comcast seeks to seal is limited to information which, if


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disclosed, would not only provide an unfair advantage to competitors but also hinder the

ongoing reorganization efforts of the Debtor, it is entirely appropriate for the Court to grant

this Emergency Motion to Seal.




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                                       CONCLUSION

        For the foregoing reasons, Comcast respectfully requests that the Court enter an order

granting the relief requested herein and any other relief that the Court may deem appropriate.


                                                   Respectfully submitted,


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Submitted July 28, 2014




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